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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 9:21-cv-82141-DMM

  NELSON FERNANDEZ,

         Plaintiff,

  vs.

  SPD GROUP, INC, d/b/a J.R. DUNN
  JEWELERS, a Florida for-profit
  corporation,

        Defendant.
  ______________________________________/

                                    NOTICE OF SETTLEMENT

         Plaintiff NELSON FERNANDEZ, by and through his undersigned Counsel, hereby gives

  notice that the parties have reached a settlement and will be executing necessary paperwork

  resolving all claims and matters in the case. Accordingly, the parties respectfully request that the

  Court provide the parties ten (10) days from the date of filing this Notice to allow the parties to

  finalize the settlement agreement and file a Notice of Voluntary Dismissal with Prejudice.

         Respectfully submitted,

  RODERICK V. HANNAH, ESQ., P.A.                        LAW OFFICE OF PELAYO
  Counsel for Plaintiff                                 DURAN, P.A.
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   By____s/ Roderick V. Hannah __                       By ___s/ Pelayo M. Duran ______
        RODERICK V. HANNAH                                    PELAYO M. DURAN
        Fla. Bar No. 435384                                   Fla. Bar No. 0146595
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 14h day of March, 2022, a true and correct of the

  foregoing was electronically filed and served via transmission of Notice of Electronic Filing

  generated by CM/ECF on all counsel or parties of record on the Service List below:


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  Attorneys for Defendant, SPD Group, Inc. d/b/a J.R.
  Dunn Jewelers


                                                        /s/ Roderick V. Hannah
                                                            Roderick V. Hannah




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